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           EXHIBIT C
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From:                                            Laura Fellows <laura@paulllp.com>
Sent:                                            Sunday, December 22, 2019 1:36 PM
To:                                              Groves, Amanda; Brinson, Kobi Kennedy; Knight, Stacie C.; Obi, Shawn R.
Cc:                                              Michael Schrag; Rick Paul; Linda Lam; Joshua Bloomfield
Subject:                                         Hernandez, et al. v. Wells Fargo- Meet and Confer

Follow Up Flag:                                  FollowUp
Flag Status:                                     Flagged


Counsel-

I am reaching out to set up a time to meet and confer about the issues raised in my December 18, 2019 letter and to
discuss scheduling the depositions of Mike Nold, Mary Coffin, the records’ custodian, and the 30(b)(1) cap sheet
deponent in early or mid January. I propose we set the meet and confer call for Friday, December 27 at 2:00 p.m. CST. If
that date and time does not work, please let me know your availability on Monday and Tuesday the following week.

Thank you.

Best Regards,

Laura Fellows

Attorney




601 Walnut Street, Suite 300
Kansas City, Missouri 64106
(816) 984-8100 (P)
Laura@PaulLLP.com

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communications via this medium. If you change your mind and want future communications sent in a different fashion, please let me know AT ONCE.




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